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Hon. Paul W. Grimm                                                          September 29, 2022
U.S. District Court
6500 Cherrywood Lane, Suite 465A
Greenbelt, MD 20770

Re: City of Chicago v. Marriott International, Inc., 19-cv-654 (In re: Marriott MDL, 19-
md-2879)

Dear Judge Grimm:

         Defendants Marriott International, Inc. and Starwood Hotels & Resorts Worldwide, LLC
(collectively, Marriott) submit this letter in support of their position that the Court should not
suggest to the Judicial Panel on Multidistrict Litigation that the Government Track be remanded
to the transferor court because pretrial proceedings are not complete. The Panel’s reasons for
transferring the City’s suit to this Court are still valid—continued centralization will eliminate
duplicative discovery, avoid possibly inconsistent pretrial rulings, and conserve the resources of
the parties, their counsel, and the judiciary. The Court should not suggest the Panel abandon
centralization when expert discovery on the merits has not even begun. 1

        Remand before pretrial proceedings are complete is the exception. Notably, when a party
seeks “remand before coordinated or consolidated pretrial proceedings have been completed, it
has the burden of establishing ‘good cause’ for the transfer.” In re Chiquita Brands Int’l Alien
Tort Statute & S’Holders Derivative Litig., 2019 U.S. Dist. LEXIS 237448, *80 (S.D. Fla. Nov.
5, 2019). The “court can only suggest remand if [party seeking it] demonstrates good cause.” In
re Maxim Integrated Prod., Inc., 2015 WL 1757779, at *3 (W.D. Pa. Apr. 17, 2015); see also
Diaz v. Ameriquest Mortg. Co., 2014 WL 26265, at *2 (N.D. Ill. Jan. 2, 2014) (“The Panel will
generally remand a case before pretrial proceedings are completed ‘only upon a showing of good
cause.’”) (quoting In re CBS Color Tube Patent Litig., 342 F.Supp. 1403, 1405 (J.P.M.L.1972));
In re Reciprocal of Am. (ROA) Sales Pracs. Litig., 2012 WL 13018843, at *2 (W.D. Tenn. Apr.
11, 2012) (remand “is based upon the totality of circumstances,” and “should only occur upon a
showing of good cause”) (quotation marks omitted).

        Here, good cause does not exist for early remand because the reasons for centralization
remain valid. In particular, expert discovery on the merits of the claims in the Government and
Consumer Tracks has not yet begun and there are common issues that would benefit from
coordinated pretrial proceedings in this Court, both as a matter of efficiency and to avoid the
potential for inconsistent rulings. While remand before pretrial proceedings have been
completed “may be appropriate if everything that remains to be done is case specific,” In re
Aqua Dots Prods. Liab. Litig., 2011 U.S. Dist. LEXIS 84834, *5 (N.D. Ill. Aug. 2, 2011)
(quotation marks omitted), remand “is not appropriate when continued consolidation will
eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve the resources
of the parties, their counsel and the judiciary,” In re Xarelto (Rivaroxaban) Prod. Liab. Litig.,
2020 WL 4542988, at

1
  The City presumably meant to refer only to fact discovery when it asserted “[m]erits discovery
in the City’s case has been completed for over a year” (ECF 1070 at 1-2), because it
acknowledges that “[e]xpert discovery on merits issues has not yet occurred.” (ECF 1071 at 6).
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*3 (E.D. La. Aug. 6, 2020) (cleaned up). The City’s arguments do not show early remand is
appropriate here. 2

        The City argues that “[c]omparing the statutes of the Consumer and Government Tracks
demonstrates that the City’s case will no longer benefit from inclusion in this MDL.” (ECF 1070
at 1). Not so. For starters, the Panel centralized the cases not because the statutes are the same
but because the “factual overlap among these actions is substantial, as they all arise from the
same data breach, and they all allege that Marriott failed to put in to place reasonable data
protections. Many also allege that Marriott did not timely notify the public of the data breach.”
(ECF 1.) 3 That factual overlap still exists and the City does not contend otherwise.

         Moreover, the City does not actually compare the statutes in the Consumer and
Government Tracks. (See ECF 1070, at 2.) Had it done so, it would be forced to admit that the
statutes at issue in both tracks clearly overlap and all concern the reasonableness of data security
measures. For example, this Court certified Rule 23(b)(3) damages classes with respect to claims
under the Maryland Consumer Protection Act (MCPA) and California UCL. (ECF 1014 at 70-
71.) The elements of claims under the MCPA, California UCL, and Illinois Consumer Fraud and
Deceptive Practices Act (ICFA) are substantially similar, and, as this Court observed, “Chicago’s
ordinance [MCC § 2-25-090(a)] incorporates the ICFA.” (ECF 1062 at 34.) 4 Notably, the
California UCL covers violations of the California Customer Records Act, which is akin to the
Illinois Personal Information Protection Act (IPIPA), which the ICFA also incorporates. (ECF
1062 at 34, n.28.) This just compares statutes applicable to current bellwether claims, there are
numerous other state consumer fraud claims lying in wait. The bottom line is the statutory (and
negligence) claims in the Consumer Track and the City’s claims require common proof around
the reasonableness of Marriott’s data security, including encryption issues, which will be the
subject of common expert discovery.

         The Panel recognized that centralization will eliminate duplicative discovery, prevent
inconsistent pretrial rulings, and conserve the resources of the parties, their counsel, and the
judiciary. (ECF 1.) This Court then explained at the first case management conference (and the
City’s counsel agreed) “that it makes a lot of sense to have that common participation of maybe
all the tracks as part of the discovery process so that there’s not four separate discovery requests
the defendants are dealing with on different schedules that deal with overlapping information.”
(4/5/19 Hearing Tr. at 49:23-50:3.) This remains true today, especially with expert discovery on
the merits still to come. Because there is significant overlap between the City and Consumer

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  The City contends Marriott previously urged the Government Track should move forward
independently (ECF 1070 at 1), but that was about moving for summary judgement in this Court
on issues unique to the Government Track (i.e., standing, home rule, and extraterritoriality), not
abandoning coordination regarding common issues.
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  The Panel said it was transferring the City’s case to the District of Maryland for the same
reasons set forth in its first transfer Order regarding consumer cases. (ECF 87.)
4
  Compare ECF 958 at 6-13 (elements of claims under MCPA and California UCL) with 815 Ill.
Comp. Stat. Ann. 505/1 et seq. (elements of a claim under the ICFA are: (1) an unfair or
deceptive act or practice by the defendant, (2) defendant intended for the plaintiff to rely on the
unfair or deceptive practice, and (3) the unfair or deceptive practice occurred during course of
conduct involving trade or commerce).
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cases, it is important to coordinate expert discovery to gain the benefits of centralization,
including avoiding duplicate expert disclosures, multiple depositions of the same expert
witnesses, and the possibility of inconsistent rulings on Daubert motions.

        While the parties have not yet disclosed experts on merits issues, Marriott anticipates
offering expert testimony to address (1) the reasonableness of its data security measures, (2) the
inability of a threat actor to read personally identifiable information that it had encrypted, and
(3) the absence of indicators of a failure to safeguard personal information (such as dark web
advertisements or payment card common point of purchase alerts). This expert testimony is
relevant to Marriott’s defense against the City’s and the Consumer Track plaintiffs’ claims.

         Expert testimony demonstrating the reasonableness of Marriott’s data security measures
relates to Counts 1 and 2 of the City’s Complaint, which alleges Marriott failed to safeguard
personal information and implement and maintain reasonable data security measures, and to
Count 3, which alleges Marriott’s privacy statements misrepresented its data security practices.
(ECF 296 at 23-27.) Expert testimony about the inability of a threat actor to read personally
identifiable information that had been encrypted by Marriott relates to Counts 1 and 2. It also
relates to Count 4 alleging delayed notification (id. at 27), as the Court recognized in its
summary judgment decision. (ECF 1062 at 39, n.36 (noting the required number of notifications
is a disputed fact subject to expert testimony regarding encryption).) Expert testimony about the
absence of indicators of a failure to safeguard personal information is relevant to Count 1
because it is evidence there was no failure to safeguard personal information.

        All this expert testimony is likewise relevant to claims in the Consumer Track cases.
Indeed, in certifying consumer classes, the Court found the “gravamen of these allegations is that
Marriott and Accenture failed to take reasonable steps to protect Plaintiffs’ personal information
against the foreseeable risk of a cyberattack and, in the case of Marriott, contrary to its express
privacy statements and statutory duties.” (ECF 1014 at 3.)

        The City and the Consumer plaintiffs presumably will offer expert testimony to support
their respective allegations that the data security at issue was deficient and misrepresented. While
the City says there “is no guarantee” it will have experts in common with the Consumer Track
plaintiffs (ECF 1070 at 2), that has been the case so far. Indeed, the Consumer Track plaintiffs’
data security expert at the class certification stage stated in her report that she was also retained
by the City. (ECF 857, Tab 4, ¶10.) And while the City says the Consumer Track cases “assert
different claims under different states’ laws,” (ECF 1070 at 2) that was true before, too, yet the
City said “there are significant overlaps between the City and Consumer cases” and “[g]iven
these overlaps, the Consumer and City Tracks have discussed coordination and resulting
efficiencies of expert topics and reports, which will ultimately inure to benefit of all Parties and
the Court (less time/costs, fewer Daubert motions, etc.).” (ECF 839 at 3.)

        In addition, once the parties make their expert disclosures there will certainly be rebuttal
expert disclosures, as well. For example, the City and Consumer plaintiffs may have a rebuttal
expert on the issue of encryption (which may or may not be the same as their expert(s) on the
reasonableness of other data security measures). All these experts will need to be deposed, so
remand now would cause numerous experts to be deposed multiple times. The City tries to
downplay the importance of coordinating expert discovery on overlapping issues, but this is a

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core purpose of the MDL process. Accordingly, courts have denied motions for suggestion of
remand where expert discovery remained on common issues. See, e.g., Wang v. Bear Stearns
Cos., 2013 U.S. Dist. LEXIS 97794, *5-6 (S.D.N.Y. July 7, 2013); In re Aqua Dots Prods. Liab.
Litig., 2011 U.S. Dist. LEXIS 84834, at *7. Remand is inappropriate where common discovery
remains outstanding such that the defendant “would be left to defend two related claims with
similar discovery in different forums” following remand. Diaz v. Ameriquest Mortg. Co., 2014
WL 26265, at *2 (N.D. Ill. Jan. 2, 2014).

         Notably, the City does not cite any cases where remand was suggested before common
expert discovery had begun. See In re Brand-Name Prescription Drugs Antitrust Litig., 264 F.
Supp. 2d 1372, 1375 (J.P.M.L. 2003) (common expert and fact discovery was substantially
completed); In re Bard IVC Filters Prod. Liab. Litig., 2021 WL 1616101, at *1 (D. Ariz. Apr.
26, 2021) (“All common fact and expert discovery has been completed.”); In re Multi-Piece Rim
Prods. Liab. Litig., 464 F. Supp. 969, 975 (J.P.M.L. 1979) (“discovery on all common factual
issues in this docket has been completed”); In re Activated Carbon-Based Hunting Clothing
Mktg. & Sales Pracs. Litig., 840 F. Supp. 2d 1193, 1199 (D. Minn. 2012) (“the key factor is that
discovery in these actions is now complete”); In re State St. Bank & Tr. Co. Fixed Income Funds
Inv. Litig., 2011 WL 1046162, at *6 (S.D.N.Y. Mar. 22, 2011) (“Coordinated fact and expert
discovery is complete . . . , which is among the ‘primary purpose[s]’ of multidistrict litigation.”).
The City contends the benefits of centralization still can be achieved after a remand because the
parties will “informally coordinate and share information” (ECF 1070 at 3), but the cases it cites
were uncomplicated matters where the Panel was rejecting centralization in the first place, not
deciding whether to remand. See In re OSF Healthcare Sys. Emp. Ret. Income Sec. Act (ERISA)
Litig., 223 F. Supp. 3d 1343, 1345 (J.P.M.L. 2016) (there were only two cases); In re: Ronald
Beecher Est. Litig., 816 F. Supp. 2d 1379 (J.P.M.L. 2011) (issues were not “sufficiently
complex” and there were only two cases).

        The City also dismisses the risk of inconsistent rulings, saying there is “no guarantee”
there will be Daubert motions at all, or such motions might be different. But the point of
centralization is to avoid the possibility of inconsistent rulings, which clearly exists here. In re
Reciprocal of Am. (ROA) Sales Practices Litig., 2012 U.S. Dist. LEXIS 200150, *16 (W.D.
Tenn. Apr. 11, 2012) (“Discovery overseen by this Court and a federal court in Louisiana could
clearly lead to the type of inconsistent pretrial rulings and failure to conserve resources the Panel
intended to prevent.”); In re Portfolio Recovery Assocs., LLC, Tel. Consumer Prot. Act Litig.,
2012 U.S. Dist. LEXIS 72833, *10 (S.D. Cal. May 24, 2012) (declining to suggest remand where
not only case-specific issues remained because “coordinated proceedings will preserve judicial
and party resources and avoid the chance of inconsistent rulings”).

         The City’s argument that it is prejudiced by delay while the Fourth Circuit hears the
certification appeal is not grounds for remand, either. Courts are clear that a case should not be
remanded because of the pace of proceedings in the MDL. For example, the Northern District of
Illinois noted a party seeking remand on this basis had “not identified any authority which would
permit us to suggest a remand because of the alleged uniqueness of her claims or the delay
associated with inclusion in the MDL.” In re Ameriquest Mortg. Co. Mortg. Lending Pracs.
Litig., 2010 WL 1418399, at *2 (N.D. Ill. Apr. 6, 2010). Another district court likewise noted
delay in MDL proceedings is not a reason for remand, explaining as follows:


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       [T]he gist of [movant’s] motion appears to be that, because this case has been
       pending for some years, is progressing slowly and has at times focused on other
       parties, its continued inclusion in the MDL is no longer of benefit as its individual
       claims could have been resolved more quickly in a separate action and, therefore,
       the Court should exercise its discretion in its favor. However, the Court is
       unconvinced that such an assertion forms the basis for a suggestion for remand.

In re Reciprocal of Am. (ROA) Sales Practices Litig., 2012 U.S. Dist. LEXIS 200150, at *17. 5

        Despite the City exaggerating any delay caused by the consumer appeal, it cannot
establish any meaningful prejudice. Although merits briefing had not commenced in the Fourth
Circuit when the City filed its letter (ECF 1070 at 2), it is now underway and is scheduled to
conclude in November. (Case No. 22-1744, ECF 23.). Parties complaining of prejudice from
delay are typically plaintiffs seeking damages to be made whole. Here, the City cannot recover
damages or even obtain injunctive relief; the most it can seek is a fine to punish Marriott. The
fact that the City is paying a vendor a monthly fee for electronic storage (ECF 1070 at 3) is a far
cry from an injured plaintiff unable to pay medical expenses while a case was pending six
years—yet even that circumstance did not support remand, see In re Ocwen Fed. Bank FSB
Mortg. Servicing Litig., 2012 U.S. Dist. LEXIS 100715 (N.D. Ill. July 16, 2012) (“Standly
argues that the continued delay of this case, originally filed in 2006, has significantly hindered
his ability to pay for his medical care and other living expenses. Although the Court recognizes
Standly’s position that the MDL has not benefitted him, his argument fails because he does not
allege that discovery is complete or that the remaining discovery is ‘case-specific.’”).

        Finally, the City says Your Honor’s retirement means this Court will not have familiarity
with the issues of this case so “will be at no great advantage” over the transferor court when
addressing any anticipated motions. (ECF 1070 at 3.) But Judge Gallagher will become familiar
with the issues of this MDL regardless, and the great advantage this Court has in addressing such
motions is that it avoids potentially inconsistent rulings. In all events, “getting trial judge ‘up to
speed’ is not good cause” for early remand. See In re Maxim Integrated Prod., Inc., 2015 WL
1757779, at *5 (W.D. Pa. Apr. 17, 2015).

        In sum, the present circumstances do not warrant remanding this case before pretrial
proceedings are complete. The Panel and this Court have recognized the Government and
Consumer Tracks benefit from coordination because they arise from a common set of facts. That
has not changed. Expert discovery on the merits has not begun and will involve significant issues
common to both tracks. Any disappointment by the City with the pace of the MDL proceedings
is not a basis for remand. Because the reasons for centralization are still valid, including to avoid
the possibility of inconsistent rulings, this is not the appropriate time for remand and this Court
should continue to preside over the two remaining tracks in the MDL.


/s/ Daniel R. Warren                   /s/ Gilbert S. Keteltas                /s/ Lisa M. Ghannoum

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 The City cites In re Louisiana-Pac. Corp. Trimboard Siding Mktg., Sales Pracs. & Prod. Liab.
Litig., 867 F. Supp. 2d 1346, 1347 (J.M.P.L. 2012), but that was not about remand; it was about
whether to centralize new cases that had had “no discovery” with cases that were close to trial.
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